                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

                                         MDL No. 17-2795 (MJD/KMM)
IN RE: CENTURYLINK SALES
PRACTICES AND SECURITIES                 CENTURYLINK, INC.’S
LITIGATION                               MEMORANDUM OF LAW IN
                                         SUPPORT OF ITS ALTERNATIVE
This Document Relates to:                MOTION TO DISMISS UNDER
 0:17-cv-02832 0:17-cv-04622             RULES 12(b)(2) AND 12(b)(6)
 0:17-cv-04613 0:17-cv-04943
 0:17-cv-04614 0:17-cv-04944
 0:17-cv-04615 0:17-cv-04945
 0:17-cv-04616 0:17-cv-04947
 0:17-cv-04617 0:17-cv-05001
 0:17-cv-04618 0:17-cv-05046
 0:17-cv-04619

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       Plaintiffs have sued the wrong company. If the Court declines to compel

arbitration, the proper defendants should be before the Court. Thus, the Court should

dismiss CenturyLink, Inc. and allow the real parties in interest to intervene.

       CenturyLink, Inc., the only named Defendant, is a parent holding company that

owns stock in (and derives all of its revenue from) multiple operating subsidiaries –

including the “Operating Companies” that provided service to Plaintiffs and have moved

to intervene. As a holding company, CenturyLink, Inc., itself has no customers of its

own and provides no services to customers. It took no actions towards Plaintiffs,

including those alleged in the Consolidated Class Action Complaint (ECF No. 38)

(“Complaint”). The Operating Companies, not CenturyLink, Inc., took the actions

alleged in the Complaint. It is the Operating Companies, not CenturyLink, Inc., that

contract with and provide communications services to customers, including the named

Plaintiffs in these lawsuits. These facts are indisputable.

       Undeterred, Plaintiffs have stubbornly named only CenturyLink, Inc., likely in an

effort to avoid broad arbitration agreements in their contracts with the Operating

Companies. But Plaintiffs’ strategy cannot get past “Go” because of a fundamental

defect: this Court has no personal jurisdiction over CenturyLink, Inc.:

          • There is no general personal jurisdiction because no transfer forum is
            CenturyLink, Inc.’s headquarters or place of incorporation.

          • There is no specific personal jurisdiction because CenturyLink, Inc. took
            no action in (or directed to) the transferor forums that damaged Plaintiffs.

Pursuant to Rule 12(b)(2), the Court should dismiss CenturyLink, Inc. for lack of

personal jurisdiction.
       Alternatively, the Court should dismiss CenturyLink, Inc. for Plaintiffs’ failure to

state a claim under Rule 12(b)(6). In a misguided salvo at veil-piercing, Plaintiffs seek to

hold CenturyLink, Inc. – a New York Stock Exchange traded, public holding company –

exclusively liable for the alleged acts of its many operating subsidiaries. Plaintiffs fail to

allege any facts justifying piercing the corporate veil, and instead attempt to blur the

well-established divisions between parent and subsidiary, on the theory that the

CenturyLink family of companies use a common trade name (on bills, on vans and even

on an NFL stadium) that purportedly confused Plaintiffs. This strategy also fails: case

after case holds that alleged customer confusion is not a valid basis to ignore well-

established corporate separation. Plaintiffs have alleged no facts, or legal theory, that

makes CenturyLink, Inc. liable for the acts of its Operating Companies.

       Separately, the Court should dismiss Plaintiffs’ cause of action (Count I) under the

“Truth-in-Billing Rules” of the Federal Communications Commission (“FCC”). Those

Rules apply only to bills including charges for telephone services. Eight Plaintiffs did

not receive telephone service, so the Rules do not apply to their bills. Of the other 30

Plaintiffs, none allege facts that constitute a violation of those Rules. The Rules regulate

the language of telephone bills but do not regulate either the amount of charges or

allegedly unauthorized charges.

       To the extent any claims are not arbitrable, the Court should dismiss CenturyLink,

Inc. as a Defendant, allow the Operating Companies to proceed as the proper defendants,

and dismiss Count I of the Complaint.




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                                  RELEVANT FACTS

I.     CENTURYLINK, INC. IS A PARENT HOLDING COMPANY
       THAT PROVIDES NO COMMUNICATIONS SERVICES

       Defendant CenturyLink, Inc. is a publicly traded holding company, incorporated

under Louisiana law, with headquarters in Monroe, Louisiana. Declaration of Kiran

Seshagiri (“Seshagiri Decl.”) ¶ 5.1 CenturyLink, Inc. makes regular public filings with

the SEC on behalf of itself and its family of consolidated subsidiaries. Id. ¶ 10. Federal

courts have acknowledged CenturyLink, Inc.’s status as a publicly traded parent holding

company. Numrich v. Qwest Corp., 2015 WL 1883917, at *1 (D. Or. Apr. 23, 2015)

(“CenturyLink[, Inc.] is a holding company”); Madison Cty. Commc’ns Dist. v.

CenturyLink, Inc., No. 5:12-cv-01768-IPJ, Mem. Op., at 3-4 (N.D. Ala. Dec. 20, 2012),

ECF No. 57 (“CenturyLink, Inc., a publicly traded company, is a holding company”).

       As a holding company, CenturyLink, Inc. invests in and owns various subsidiaries,

with the goal of earning returns for its shareholders. Seshagiri Decl. ¶ 6. CenturyLink,

Inc. owns many domestic and foreign subsidiary companies that provide communication

services to consumer, business, and government customers. Id. CenturyLink, Inc.’s

ownership of many subsidiaries is largely historical, and is driven by regulatory

requirements and, specifically, differences among states’ regulated-utilities laws. These

subsidiary companies collectively provide their services under the trade name

“CenturyLink.” Id. ¶ 8.



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      On a Rule 12(b)(2) motion, the Court can consider evidence outside the pleadings.
Wells Dairy, Inc. v. Food Movers Int’l, Inc., 607 F.3d 515, 518 (8th Cir. 2010).


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       Because it is a holding company, CenturyLink, Inc.’s only material assets are the

stock it owns in its subsidiaries or affiliates. Id. ¶ 10. CenturyLink, Inc. provides no

services to customers and, in fact, has no customers of its own. Id. ¶ 7. CenturyLink,

Inc. itself has no employees who provide services to customers, and it has no employees

who handle sales, customer care, billing, or the provision of services. Id. It does not

enter into contracts with customers to provide communications services. Id. It does not

engage in advertising, render bills to customers, receive payments from customers, or

engage in collection activities. Id.

       Instead, customer-related activities are performed by certain subsidiaries of

CenturyLink, Inc., including the ten Operating Companies that have moved to intervene.

Id. ¶ 9; Motion to Intervene (ECF No. 80). In providing communication services

domestically to consumers, the subsidiaries – not CenturyLink, Inc. – are responsible for

handling the customer relationships, including:

          • Entering into contracts with their customers;

          • Providing service using network facilities and other resources, or arranging
            for services through vendors or other subsidiaries;

          • Engaging in customer sales and care, such as technical or billing issues,
            either through employees of the subsidiaries or through vendor or other
            subsidiaries’ employees; and

          • Rendering bills to customers and collecting payments, the revenues from
            which are recorded on the books of the subsidiaries and not CenturyLink,
            Inc.

Seshagiri Decl. ¶¶ 9, 13, 18.




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       The above-described corporate structure and CenturyLink, Inc.’s relationship with

its subsidiaries (such as the ten Operating Companies), is described in CenturyLink,

Inc.’s public SEC filings:

              As a holding company, we [CenturyLink, Inc.] rely on
              payments from our operating companies to meet our
              obligations.

              As a holding company, substantially all of our income and
              operating cash flow is dependent upon the earnings of our
              subsidiaries and their distribution of those earnings to us in
              the form of dividends, loans or other payments…. Our
              subsidiaries are separate and distinct legal entities and have
              no obligation to pay any amounts owed by us ….

              ….

              … [W]e [CenturyLink, Inc.] are a holding company with no
              material assets other than the stock of our subsidiaries ….

Id. ¶ 10 & Exhibit 1 (Form 10-K, Dec. 31, 2017), at 42 (emphasis added).

II.    PLAINTIFFS ALLEGE A WIDE VARIETY OF COMMON COMPLAINTS
       ABOUT THE QUALITY, SALES AND BILLING OF THEIR SERVICES

       Each Plaintiff alleges that he or she purchased internet services from the entity

“CenturyLink” (i.e., the trade name). Complaint ¶¶ 129-413. Thirty Plaintiffs also allege

that they purchased phone services from “CenturyLink.” Id. Seven Plaintiffs allege they

purchased “CenturyLink” television services too, as well as some others who purchased

third-party television services of DirecTV. Id.

       Each Plaintiff makes unique claims about various disputes that allegedly arose

from the sales, quality or billing of these services. These garden-variety claims involve

diverse issues that individual consumers might often experience with phone, cable or

internet providers, such as:

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          • Quality of Service Disputes. Some Plaintiffs allege they purchased high-
            speed internet services at certain “bandwidth” (speed) rates, but received
            slower rates. Id. ¶¶ 380, 390.

          • Charges for Returned Equipment. One Plaintiff alleges she was billed
            monthly charges for renting a modem for internet service, even after she
            allegedly returned the modem. Id. ¶ 322.

          • Technician or Installation Disputes. Two Plaintiffs allege that technicians
            arrived late or that their installation was delayed. Id. ¶¶ 152, 247.

          • Auto-Debit Disputes. Some Plaintiffs allege that monies were debited in
            the wrong amount or on the wrong date. Id. ¶¶ 235, 243, 253, 296, 299.

          • Unauthorized Charges. Some Plaintiffs allege that their bills contained
            line-item charges that they did not authorize. Id. ¶¶ 145, 254, 256, 263,
            409.

          • Charges for Equipment Rental. Some Plaintiffs allege that they were
            billed for renting a modem when they owned their own modem. Id. ¶¶ 214,
            306.

          • Early Termination Fees. Some Plaintiffs allege that they were improperly
            billed early termination fees when they cancelled their services. Id. ¶¶ 272,
            298, 412.

          • Billing for Services After Cancellation. Some Plaintiffs allege that they
            were improperly billed after cancelling their services. Id. ¶¶ 160, 167, 307.

          • Prorated Charges. One Plaintiff alleges that she was improperly billed for
            partial month or prorated charges. Id. ¶ 153.

III.   CENTURYLINK, INC. HAD NO INTERACTIONS WITH PLAINTIFFS

       None of the widely-varied consumer claims described above implicate

CenturyLink, Inc. CenturyLink, Inc. did not engage in the conduct alleged in the

Complaint:

          • It did not have any phone calls with any Plaintiff;

          • It did not enter into contracts with any Plaintiff;



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          • It did not provide services to any Plaintiff;

          • It did not impose charges on any Plaintiff, whether for monthly services,
            equipment rentals or returns, or early termination;

          • It did not render bills to any Plaintiff;

          • It did not arrange for installation technicians to visit any Plaintiff; and

          • It did not auto-debit any Plaintiff’s account.

Seshagiri Decl. ¶ 7. The Complaint nowhere alleges any actions taken towards any

Plaintiff by CenturyLink, Inc., and Plaintiffs know they cannot support such allegations.

       Rather, Plaintiffs’ claims directly implicate the conduct of CenturyLink, Inc.’s ten

Operating Companies, which offer communications services across the country. Each of

the 38 Plaintiffs contracted with, ordered and received services from, and received and

paid bills, from one or more distinct legal entities, these ten Operating Companies:

          • Qwest Corporation;

          • Embarq Florida, Inc.;

          • Embarq Missouri, Inc.;

          • Carolina Telephone and Telegraph Company LLC;

          • Central Telephone Company;

          • CenturyTel of Idaho, Inc.;

          • CenturyTel of Larsen-Readfield, LLC;

          • CenturyTel of Washington, Inc.;

          • CenturyTel Broadband Services, LLC; and

          • Qwest Broadband Services, Inc.

   Id. ¶ 16.


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IV.    PLAINTIFFS ALLEGE THAT CENTURYLINK, INC. IS LIABLE TO
       THEM BECAUSE IT USES THE SAME TRADE NAME AS THE
       OPERATING COMPANIES THAT PROVIDED SERVICES

       In the preamble to the Complaint, Plaintiffs define “CenturyLink” as

“CenturyLink, Inc.,” and then allege actions by “CenturyLink” throughout the Complaint,

apparently hoping to confuse the parent’s actions with those of its subsidiaries. The

Court should be wary of this tactical oversimplification. Plaintiffs never specifically state

(nor could they) that CenturyLink, Inc. (as opposed to “CenturyLink”) engaged in any

alleged conduct. Instead, Plaintiffs make the preposterous suggestion that each act by

one of the Operating Companies should be deemed an act of the parent, CenturyLink,

Inc. Even a minimal investigation of CenturyLink’s corporate structure, surely done by

counsel, would disprove that baseless notion – particularly after CenturyLink’s counsel

provided information about the Operating Companies to Plaintiffs before they filed the

Complaint.

       Putting aside this contrived attempt at sleight of hand, Plaintiffs are effectively

asserting an alter ego theory to hold CenturyLink, Inc. liable for the acts of its

subsidiaries. The basis of this alter ego theory is the alleged subjective confusion

Plaintiffs experienced when CenturyLink, Inc. and its subsidiaries use a common trade

name, purportedly arising from two allegations.

       First, Plaintiffs allege that they saw or heard the trade name “CenturyLink” in their

communications and transactions. Complaint ¶ 13 (“Plaintiff and the Class only

communicated to and did business with an entity that represented itself as CenturyLink”)

& ¶ 19 (plaintiffs heard or saw the name “CenturyLink” in calls, and wrote it on their


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checks). But Plaintiffs do not allege that CenturyLink, Inc. itself undertook these actions

– meaning, they do not expressly allege that CenturyLink, Inc. (as opposed to the

Operating Companies) made calls, sent invoices, or received Plaintiffs’ checks and

deposited monies. Nor do they allege that anyone specifically told them they were

dealing with “CenturyLink, Inc.” in their transactions. All they allege is that they dealt

with an enterprise using the trade name “CenturyLink.”

       Second, Plaintiffs allege that CenturyLink, Inc. refers to itself as “CenturyLink” –

going so far as to say the “Company [CenturyLink, Inc.] equates ‘CenturyLink’ with

‘CenturyLink, Inc.’” Id. ¶ 16. For support, Plaintiffs note that the name “CenturyLink”

is used on CenturyLink, Inc.’s website, in public press releases, in SEC filings, and “on

every uniform, truck, envelope, [and] an NFL Stadium.” Id. ¶¶ 15-19.

       Based on nothing more than the common use of this trade name, Plaintiffs claim

they “reasonably believed” that they received “representations, promises and services”

from parent CenturyLink, Inc. Id. ¶¶ 19, 20. Simply put, even though Plaintiffs were

customers of distinct legal entities (the Operating Companies), they want to hold

CenturyLink, Inc. liable for the alleged acts of those Operating Companies because

Plaintiffs were allegedly confused when multiple companies used the same trade name.

                            MOTIONS TO DISMISS
                        UNDER RULES 12(b)(2) AND 12(b)(6)

       To survive a motion to dismiss for lack of personal jurisdiction under Rule

12(b)(2), plaintiff bears the burden of making a prima facie showing that personal

jurisdiction exists. Fastpath, Inc. v. Arbela Tech. Corp., 760 F.3d 816, 820 (8th Cir.



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2014). A plaintiff’s prima facie showing “must be tested, not by the pleadings alone, but

by the affidavits and exhibits supporting or opposing the motion.” K–V Pharm. Co. v. J.

Uriach & CIA, S.A., 648 F.3d 588, 592 (8th Cir. 2011) (internal quotation marks and

citation omitted). Plaintiffs carry the burden of proof and that “burden does not shift to

the party challenging jurisdiction.” Viasystems, Inc. v. EBM–Papst St. Georgen GmbH &

Co., 646 F.3d 589, 592 (8th. Cir. 2011); Epps v. Stewart, 327 F.3d 642, 647 (8th. Cir.

2003).

         To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Mountain Home Flight Serv., Inc. v. Baxter Cty., Ark., 758 F.3d 1038, 1042 (8th Cir.

2014) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “[A]lthough a

complaint need not contain ‘detailed factual allegations,’ it must contain facts with

enough specificity ‘to raise a right to relief above the speculative level.’” U.S. ex rel.

Raynor v. Nat’l Rural Utils. Co-op. Fin., Corp., 690 F.3d 951, 955 (8th Cir. 2012)

(quoting Twombly, 550 U.S. at 555).

                                        ARGUMENT

I.       THE PARENT HOLDING COMPANY CENTURYLINK, INC.
         IS AN IMPROPER DEFENDANT AND SHOULD BE DISMISSED

         Plaintiffs’ made a tactical decision to sue only the parent holding company,

CenturyLink, Inc., even though it did not contract with or provide any of the services that

Plaintiffs purchased from the Operating Companies. The Court should dismiss

CenturyLink, Inc. from the case for either of two reasons: (1) under Rule 12(b)(2), the



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Court lacks personal jurisdiction over CenturyLink, Inc., or (2) under Rule 12(b)(6),

Plaintiffs allege no legally-recognized basis to “pierce the corporate veil” between

CenturyLink, Inc. and the subsidiaries that engaged in these transactions.

       A.     No Transferor Court Has Personal Jurisdiction
              over CenturyLink, Inc. for Any of These Claims

       Personal jurisdiction can be either general or specific. Epps, 327 F.3d at 648.

Neither is present here.2

              1.     CenturyLink, Inc. Is Neither Incorporated
                     nor Headquartered in Any Transferor Forum
       “General personal jurisdiction,” where it exists, gives the Court personal

jurisdiction to hear any claim against the defendant, regardless of whether the claim

relates to a transaction in the forum. Id. The general jurisdiction rules changed four

years ago in a significant way relevant to this case.

       In Daimler AG v. Bauman, 571 U.S. 117 (2014), the Supreme Court stated that a

forum has general personal jurisdiction over a corporation only if the forum is the state of

the defendant’s (1) incorporation or (2) principal place of business. Id. at 137.

CenturyLink, Inc., incorporated in Louisiana, maintains its principal place of business in

Monroe, Louisiana. Seshagiri Decl. ¶ 5; cf. Hertz Corp. v. Friend, 559 U.S. 77, 92-93

(2010) (“‘Principal place of business’ is best read as referring to the place where a

corporation’s officers direct, control, and coordinate the corporation’s activities.”). Thus,



2
       In an MDL proceeding such as this one, this Court (as the transferee forum) takes
the personal jurisdiction of the transferor forum over Defendant. E.g., In re Zofran
(Ondansetron) Prods. Liab. Litig., 2016 WL 2349105, at *3 (D. Mass. May 4, 2016).


                                            - 11 -
Louisiana is the only state with general personal jurisdiction over CenturyLink, Inc., but

no consumer action was filed in Louisiana.

              2.     CenturyLink, Inc. Took No Actions in or
                     Directed to Any Transferor Forum Regarding
                     Any Plaintiff’s Specific Transactions
       Specific personal jurisdiction is based on actions directed towards the forum.

Because CenturyLink, Inc. did not take any action in or directed at any transferor forum

regarding any transactions with any Plaintiff, no transferor forum has specific personal

jurisdiction over CenturyLink, Inc.

       Specific personal jurisdiction requires a direct causal nexus between each

Plaintiff’s claims and CenturyLink, Inc.’s conduct in the forum state. Myers v. Casino

Queen, Inc., 689 F.3d 904, 912 (8th Cir. 2012) (“Specific personal jurisdiction, unlike

general jurisdiction, requires a relationship between the forum, the cause of action, and

the defendant.”). It arises only if “the defendant purposely directed its activities at the

forum state and the claim arose out of or relates to those activities,” such that “the injury

giving rise to the lawsuit occurred within or had some connection to the forum state.”

Johnson v. Arden, 614 F.3d 785, 795 (8th Cir. 2010).

       Courts regularly dismiss claims for lack of personal jurisdiction against companies

– especially against parent holding companies – that were not involved in the transactions

at issue. E.g., Arnold v. AT&T, Inc., 874 F. Supp. 2d 825, 834 (E.D. Mo. 2012) (parent

entity, a “passive holding company” that had no sales in the forum state, not subject to

personal jurisdiction); see also Hinkle v. Cont’l Motors, Inc., 2017 WL 4574794, at *3




                                            - 12 -
(D.S.C. Oct. 12, 2017) (dismissing where defendant “conducts no activities in [the

state]”).

       Here, the evidence attached to this Motion demonstrates that CenturyLink, Inc.

took no actions in any transferor forum, giving rise to any Plaintiff’s claim. It engaged in

no sales efforts; it made no agreements; it provided no services; it sent no bills; and it

collected no money from Plaintiffs. See Seshagiri Decl. ¶¶ 7, 13, 16. It did nothing with

respect to these Plaintiffs. Plaintiffs make no factual allegations to the contrary. No

matter how much discovery Plaintiffs may take, they will never establish a basis for

specific personal jurisdiction over CenturyLink, Inc. in any of their lawsuits. Plaintiffs

have not alleged anything to the contrary.

       For this very reason – because CenturyLink, Inc. had no direct role in the

transactions at issue – other courts have dismissed CenturyLink, Inc. from similar

lawsuits for lack of specific personal jurisdiction. E.g., Numrich, 2015 WL 1883917, at

*1 (dismissing CenturyLink, Inc. for lack of jurisdiction because it was not involved in

customer transaction); Madison Cty., Mem. Op. at 4 (same). This Court should do the

same; indeed no basis exists to reach a different conclusion.3




3
      The Minnesota Attorney General sued certain of the Operating Companies based
on similar sales related claims, but chose not to name CenturyLink, Inc. This further
supports the conclusion that CenturyLink, Inc. is an inappropriate defendant because it
was not involved in the underlying transactions.


                                             - 13 -
       B.     Plaintiffs Have Not Stated a Valid Claim Against
              CenturyLink, Inc. Because They Have Not Alleged a
              Legally-Cognizable Theory to Pierce the Corporate Veil

       Alternatively, if the Court finds that the transferor forums have personal

jurisdiction over CenturyLink, Inc., this Court should dismiss all claims against

CenturyLink, Inc. under Fed. R. Civ. P. 12(b)(6), because Plaintiffs have failed to allege

a legally cognizable theory to hold it liable for their claims.

       Plaintiffs make an extreme assertion: that based on Plaintiffs’ subjective

confusion as to their alleged service provider, the Court should disregard the extensive

corporate structure of a NYSE listed, Fortune 250 public company, and treat the parent

holding company as legally indistinguishable from its many operating subsidiaries. The

basis for this remarkable suggestion is that each time they heard or saw the trade name

“CenturyLink,” Plaintiffs subjectively believed that the name could only be referring to

parent CenturyLink, Inc. Complaint ¶ 19. Nowhere, however, did (or could) the

Complaint allege that CenturyLink, Inc. employees engaged in any of the alleged

conduct.

       Plaintiffs are clearly attempting to pierce the corporate veil and hold CenturyLink,

Inc. liable for the alleged acts of its subsidiaries based on nothing more than the act of

affiliates using the same trade name in a way that allegedly confused Plaintiffs. See

United States v. Bestfoods, 524 U.S. 51, 61–63 (1998) (an argument to hold parent liable

for acts of subsidiary requires corporate veil to be pierced). Plaintiffs’ theory has no legal

basis – and courts routinely reject customer confusion as a basis to ignore well-

established corporate separations.


                                            - 14 -
              1.      Plaintiffs Fail to Allege Any Legally-Recognized
                      Basis for Piercing the Corporate Veil Between
                      CenturyLink, Inc. and Its Subsidiaries
       Piercing the corporate veil “is an extraordinary measure that should be reserved

for exceptional circumstances.” HOK Sport, Inc. v. FC Des Moines, L.C., 495 F.3d 927,

935 (8th Cir. 2007); see also Bestfoods, 524 U.S. at 61–62 (“It is a general principle of

corporate law deeply ‘ingrained in our economic and legal systems’ that a parent

corporation … is not liable for the acts of its subsidiaries.”).

       It is an extraordinary measure because respecting the separateness of corporate

entities is a fundamental pillar of corporate law. Maintaining separation serves the

necessary purpose of incentivizing investments in business enterprises by controlling

risks. E.g., NLRB v. Bolivar–Tees, Inc., 551 F.3d 722, 727 (8th Cir. 2008) (quoting

NLRB v. Greater Kan. City Roofing, 2 F.3d 1047, 1051 (10th Cir. 1993) (“‘The corporate

structure is an artificial construct of the law, a substantial purpose of which is to create an

incentive for investment by limiting [a shareholder’s] exposure to personal liability’ for

the corporation’s debts and obligations.”).

       Plaintiff’s contention that the Court should disregard corporate divisions and hold

the parent liable for the acts of its subsidiaries is a legal conclusion, not a factual one – so

it must be supported by allegations of specific facts supporting the legal conclusion. Cf.

Hudock v. LG Elecs. U.S.A., Inc., 2017 WL 1157098, at *3 (D. Minn. Mar. 27, 2017)

(dismissing claim that one company was liable for other company’s acts, where plaintiff

grouped entities together without factual support); Maurice Sunderland Architecture, Inc.

v. Simon, 1994 WL 1091851, at *2 (D. Minn. Apr. 6, 1994) (granting motion to dismiss,


                                              - 15 -
where plaintiff “[did] not allege any of the factors [the] law requires in order to pierce the

corporate veil”).

       Plaintiffs have not alleged facts necessary to disregard the separateness between

CenturyLink, Inc. and the Operating Companies. The same core factors for piercing the

corporate veil appear repeatedly in each state’s law4 and typically include:

          • Gross undercapitalization of one entity;

          • Failure to observe corporate formalities;

          • Nonpayment of dividends;

          • Insolvency of debtor corporation at time of incurring a debt;

          • Siphoning funds of the corporation by the dominant stockholder;

          • Non-functioning of other officers or directors;

          • Absence of corporate records; or

          • One corporation is merely a facade for the operations of the dominant
            stockholder or stockholders.

DeWitt Truck Brokers, Inc. v. W. Ray Flemming Fruit Co., 540 F.2d 681, 685–87 (4th

Cir. 1976); cf. Griffith v. SSC Pueblo Belmont Operating Co., 381 P.3d 308, 313 (Colo.

2016) (similar factors under Colorado law); Doberstein v. G-P Indus., Inc., 2015 WL

6606484, at *4 (Del. Ch. Oct. 30, 2015) (Delaware law); Riggins v. Dixie Shoring Co.,

590 So. 2d 1164, 1168 (La. 1991) (Louisiana law).


4
       Under the “internal affairs” doctrine, the law of the state of incorporation of the
subsidiary controls whether to pierce the corporate veil. Matson Logistics, LLC v.
Smiens, 2012 WL 2005607, at *5 (D. Minn. June 5, 2012). The Operating Companies
are incorporated in Colorado, Delaware, Florida, Louisiana, Missouri, North Carolina,
and Washington.


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       Plaintiffs do not allege facts supporting a single one of these factors to support

their extraordinary assertion that CenturyLink, Inc. – a Fortune 250, NYSE-traded

company, whose financial statements are audited by a public accounting firm – is the

alter ego of the Operating Companies. In the absence of allegations addressing these

recognized factors, this Court can readily reject Plaintiffs’ veil-piercing claim. Cf. N.

Cent. EMS Corp. v. Bound Tree Med., LLC, 2016 WL 544472, at *5 (D. Minn. Feb. 10,

2016) (dismissing claims against parent entity, because complaint lacked allegations of

any recognized factors that would support disregard for corporate separateness); SICK,

Inc. v. Mot. Control Corp., 2003 WL 21448864, at *9 (D. Minn. June 19, 2003) (holding

that complaint failed to allege any of the traditional veil-piercing factors).

              2.     Courts Do Not Ignore Corporate Separateness
                     Even if Affiliates Share the Same Trade Name
                     and Hold Themselves out as a Single “Company”
       Plaintiffs are improperly trying to turn a factual issue (whether CenturyLink, Inc.

and its entities appeared to consumers to be a single “company” with the name

“CenturyLink”) into a legal issue (whether multiple entities using the same trade name is

a basis to ignore corporate formalities). Their theory is flawed – the law simply does not

pierce the corporate veil (and hold a parent liable for acts of its subsidiaries) based on the

common use of a trade name.

       A trade name like “CenturyLink” is not merely a moniker for the corporate entity;

a trade name is used to represent products and services – and to distinguish them from

competitors’ products and services. Accuride Int’l, Inc. v. Accuride Corp., 871 F.2d

1531, 1536 (9th Cir. 1989) (“[T]rade names, trademarks and service marks all serve the


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same basic purposes—to identify a business and its products or services, to create

demand for those products or services, and to protect the company’s good will.”).

Trademarks are commonly used by multiple companies to commonly market their

products and services. E.g., McPeak v. S-L Distribution Co., 2012 WL 6652764, at *4

(D.N.J. Dec. 19, 2012) (explaining importance of trade names to franchises); Warnaco

Inc. v. VF Corp., 844 F. Supp. 940, 943 (S.D.N.Y. 1994) (trade name used on apparel

sold by multiple companies). “CenturyLink” denotes the wide range of services offered

by the family of CenturyLink companies; it is not a synonym for the corporate parent.

Seshagiri Decl. ¶ 8. For instance, seeing the name “CenturyLink” on a truck (Complaint

¶ 19) does not mean the parent CenturyLink, Inc. owns the truck.

       Because trade names do not establish corporate identity, the fact that affiliated

entities share a similar trade name in commerce is not a recognized factor for ignoring

their corporate separateness – even if customers are uncertain of the specific entity with

which they are dealing. As the Seventh Circuit once bluntly concluded,

              In an effort to show that creditors were misled, Ms. Atkins
              repeats the unsupported assertion she made in the district
              court that one of JAD’s customers did not always know that it
              was dealing with JAD. But customer confusion is not a
              traditional basis for piercing the corporate veil.

Atkins v. JAD Hosiery, Inc., 19 F. App’x 414, 415 (7th Cir. 2001) (emphasis added).

Applying the same logic, numerous courts have rejected the same theory Plaintiffs

assert here – that a court should pierce the corporate veil because a shared trade name

caused customer confusion over which entity engaged in a transaction:




                                           - 18 -
           • In Que Sera Promotions, Inc. v. Poughkeepsie Ford, Inc., 2005 WL
             2896703, at *5 (N.D. Ind. Nov. 2, 2005), customers claimed confusion as to
             which affiliate provided them cable service, based on multiple companies
             using the trade name “Time Warner Cable.” The court found no basis to
             pierce the corporate veil: “[A] potential for confusion, does not justify
             piercing the corporate veil. . . . Thus, TWE’s and TWCCA’s use of the
             name “Time Warner Cable” does not provide us with any reason to ‘pierce
             the corporate veil.’”

           • In Al Sayegh Bros. Trading (LLC) v. Doral Trading & Exp., Inc., 219 F.
             Supp. 2d 285, 294–95 (E.D.N.Y. 2002), plaintiffs claimed they were lead
             “to believe they were dealing with one entity” because two companies
             shared a trade name and allegedly “acted as one corporation.” The court
             found no authority supported this attempt to pierce the corporate veil and
             rejected plaintiffs’ argument.

           • In Janik v. City of Dallas, 1997 WL 452732, at *2 (N.D. Tex. July 31,
             1997), plaintiffs attempted to pierce the corporate veil because they were
             confused as to which entity entered into their insurance contract, due to
             multiple affiliates sharing a trade name. The court rejected that argument:
             “Confusion regarding the identity of the party operating under an assumed
             name does not of itself warrant piercing the corporate veil.”

Those are only a few of the many opinions recognizing this well-established principle.5

All of these cases demonstrate that Plaintiffs’ veil-piercing theory fails.

       But even if customer confusion were one factor in piercing the corporate veil,

Plaintiffs still have not alleged a sufficient basis to pierce the veil. Courts do not pierce



5
        E.g., Nuevo Mundo Holdings v. Pricewaterhouse Coopers LLP, 2004 WL 112948,
at *3 (S.D.N.Y. Jan. 22, 2004) (“[C]ourts have declined to treat different firms as a single
entity, holding them liable for one another’s acts, simply because they shared an
associational name and/or collaborated on certain aspects of a transaction.”); In re Enter.
Rent-A-Car Wage & Hour Emp’t Practices Litig., 735 F. Supp. 2d 277, 323 (W.D. Pa.
2010) (“The common marketing image and joint use of trademarked logos fail to render
ERAC–Pittsburgh an alter ego of ERAC–Missouri. Enterprise Rent–A–Car is portrayed
as a single brand to the public, but this evidence does not demonstrate the necessary
control by defendant parent over the subsidiaries.”); see generally In re Lernout &
Hauspie Sec. Litig., 230 F. Supp. 2d 152, 170-71 (D. Mass. 2002) (collecting cases).


                                            - 19 -
the corporate veil based on just one factor; they consistently require proof of multiple

traditional factors. E.g., DeWitt, 540 F.2d at 687 (“The conclusion to disregard the

corporate entity may not, however, rest on a single factor . . . .”); NetJets Aviation, Inc. v.

LHC Commc’ns, LLC, 537 F.3d 168, 177 (2d Cir. 2008) (citation omitted) (“No single

factor can justify a decision to disregard the corporate entity . . . .”). Lacking any other

traditional factor to pierce the veil, Plaintiffs have not stated a valid claim against

CenturyLink, Inc.

              3.      Piercing the Corporate Veil Due to Use of a
                      Common Trade Name Would Dramatically
                      Affect Corporations and Alter Legal Precedent
       Plaintiffs’ basis for holding CenturyLink, Inc. liable for the acts of its subsidiaries,

if accepted, would have dramatic effects in disrupting the well-entrenched business

structures of numerous, major companies nationwide. Public holding companies like

CenturyLink, Inc., typically own (and operate through) many subsidiaries, and often use

a common trade name for their subsidiaries – including household names like AT&T,

General Electric, Bank of America, Verizon, and General Motors.6 If the use of common

trade names alone imposed liability on the corporate parent for the acts of its subsidiaries,

investment-based, risk-mitigation strategies throughout the entire economy would need to

be revisited. Surely, parent holding company AT&T Inc. would not expect to be liable




6
        See, e.g., Johnson v. SmithKline Beecham Corp., 724 F.3d 337, 343 (3d Cir. 2013)
(recognizing “appealing” reasons for corporate structure of a parent holding company
that owns stock in subsidiaries with “widespread and complex operations”; citing source
that this structure “‘is a very, very common thing’”) (citation omitted).


                                             - 20 -
for all claims against its many far-flung operating subsidiaries merely because it placed

its trade name on its installation trucks or on the Cowboys’ stadium in Dallas.

       In addition, allowing a claim against the parent holding company, based on its

subsidiary’s use of a common trade name in the forum, would transgress clear

jurisdictional rules. It is black-letter law that a forum state does not have personal

jurisdiction over a parent entity based on the acts of its subsidiary in the forum. Daimler,

571 U.S. at 134-37. Courts therefore refuse to find personal jurisdiction over one

corporate entity based on its affiliate’s use of a common trade name. For instance, in Von

Grabe v. Sprint PCS, 312 F. Supp. 2d 1285, 1297, 1301 (S.D. Cal. 2003), plaintiffs

sought to establish personal jurisdiction over the parent telephone company based on its

subsidiary’s use of the common “Sprint” name. The court rejected that argument:

              Here, Plaintiff seeks to establish that, through the use of a
              common trade name, Sprint Corporation has held itself out as
              the entity doing telecommunications business in California
              and entering into service contracts with people in California,
              including Plaintiff. However, Plaintiff does not provide
              evidence that Plaintiff entered into any such contracts with
              Sprint Corporation; rather the contracts in issue are in the
              name of Sprint PCS and use the trade name “Sprint PCS” and
              the common diamond logo. As in similar cases involving use
              of a common trade name, Plaintiff’s subjective interpretation
              and/or assumption or conclusion, without more, is not
              sufficient to establish personal jurisdiction over Sprint
              Corporation.

Id. at 1301. Other courts agree. E.g., In re Ski Train Fire in Kaprun, Austria, 230 F.

Supp. 2d 403, 411 (S.D.N.Y. 2002) (rejecting the argument that personal jurisdiction over

the parent based on the subsidiary’s contacts is proper merely “because the two

companies hold themselves out to the world as a single entity”); Bellomo v. Pa. Life Co.,


                                            - 21 -
488 F. Supp. 744, 745 (S.D.N.Y. 1980) (“Nor does the parent subject itself to jurisdiction

merely by holding the affiliate group out to the public as a unitary enterprise.”).

Allowing Plaintiffs’ claims against CenturyLink, Inc. to proceed would require the Court

to reject this well-established law.

       The Court should dismiss all claims against CenturyLink, Inc. with prejudice.

II.    THE COURT SHOULD DISMISS COUNT ONE
       UNDER FEDERAL TRUTH-IN-BILLING RULES

       Plaintiffs’ Count I asserts violations of the FCC’s “Truth-in-Billing Rules,”

promulgated at 47 C.F.R. Subpt. 64.2401. The Court should dismiss this count because

Plaintiffs’ claims do not fall within those Rules.

       A.     Truth-in-Billing Rules Only Apply to Bills Containing Phone
              Charges, so Eight Plaintiffs Cannot State a Claim Under Those Rules

       The Truth-in-Billing Rules apply only to bills that contain charges for phone

service (with two exceptions not applicable here). 47 C.F.R. § 64.2401 (“telephone

bills”). The FCC has said that these regulations do not apply to bills for internet service

that lack phone charges. In re Appropriate Framework for Broadband Access to the

Internet, 20 FCC Rcd. 14853, 14946 (2005) (Truth-in-Billing Rules “cover only

providers of … voice services” and not “broadband Internet access service”).

       Eight Plaintiffs allege they received only internet service and not phone service:

Allison, Dahib, Denniston, Fitch, Jeske, Landahl, O’Donnell, and Stucker. Thus, the

Truth-in-Billing Rules do not apply to the claims of these Plaintiffs. The Court therefore

should dismiss Count I with respect to these eight Plaintiffs.




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         B.      Plaintiffs’ Claims About Unauthorized Charges
                 Are Not Governed by the Truth-in-Billing Rules

         The other 30 Plaintiffs fail to state claims within the scope of the Truth-in-Billing

Rules.

         The Truth-in-Billing Rules establish requirements for the organization and

content of “telephone bills.” 47 C.F.R. § 64.2401. Telephone bills must:

              • be clearly organized;

              • contain clear and non-misleading descriptions of charges;

              • distinguish between charges for which non-payment will and will not result
                in disconnection;

              • contain clear and conspicuous disclosure of information on how to inquire
                about or contest charges on the bill; and

              • provide notice of an option to block third-party charges.

Id. Absent from the list are any rules regarding services and the amount charged for

telephone service. The Truth-in-Billing Rules do not regulate the services and charges

themselves – for example, they do not regulate whether charges appearing on a bill must

be authorized by the customer. See id.; see also In re Protecting Consumers from

Unauthorized Carrier Changes & Related Unauthorized Charges, 32 FCC Rcd. 6022,

6023 (2017) (“The truth-in-billing rules regulate the format and content of information

about third-party charges on consumers’ bills but do not explicitly address the imposition

of unauthorized charges on consumers’ telephone bills.”).

         For the 30 Plaintiffs who purchased internet and phone service, none allege facts

that describe a violation of the prohibitions of the Truth-in-Billing Rules – instead, they



                                             - 23 -
allege facts supporting claims about unexpected or unauthorized services or charges, or

poor quality of service. The Truth-in-Billing Rules simply have no application to this

lawsuit.

       While their claims lack any specific factual allegations, Plaintiffs make the

conclusory allegation (only in the causes of action) that their bills lacked a “clear, non-

misleading, plain language description of the service rendered,” or “information that the

subscriber may need to make inquiries about, or contest, charges on the bill.” Complaint

¶ 428. However, none of the 30 individual Plaintiffs’ claims who obtained phone service

actually allege facts supporting these generic allegations. The Court is not bound to

accept such conclusory allegations. Cf. Mick v. Raines, 883 F.3d 1075, 1078 (8th Cir.

2018) (affirming dismissal of claim with “conclusory” statements “not supported by

factual allegations”).

       The Court should therefore dismiss Count I because none of the alleged facts

establish an actionable violation of the Truth-in-Billing Rules.7

                                      CONCLUSION

       For these reasons, CenturyLink, Inc. respectfully submits that – to the extent the

Court does not stay any claims pending arbitration – the Court should grant this motion,




7
       Some courts have also held that no private right of action exists to enforce the
Truth-in-Billing Rules, because FCC regulations are generally not enforceable by private
citizens. E.g., Rankin v. Glob. Tel*Link Corp., 2013 WL 3456949, at *15 (N.D. Cal. July
9, 2013); Manasher v. NECC Telecom, 2008 WL 2622956, at *4 (E.D. Mich. July 2,
2008).


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dismiss CenturyLink, Inc. as a Defendant, and dismiss various causes of action for certain

Plaintiffs as described herein.

Dated: April 27, 2018                    Respectfully submitted,

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